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AUSA:  DePorre Telephone: (810) 766-5177
AO 442 (Rev. LI/L1) Arrest Warrant Special Agent: Thomas, FBI Telephone: (810) 239-5775
UNITED STATES DISTRICT COURT
for the

Eastern District of Michigan

United States of America

Vi

Neil Matthew Walter Case No.  4:22-mj-30506

ARREST WARRANT NO E

V29 2999
To: Any authorized law enforcement officer ae DISTRICT COurT
Y CITY, MICHIGAN
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Neil Matthew Walter :

who is accused of an offense or violation based on the following document filed with the court:

[] Indictment C] Superseding Indictment [ ]Information [] Superseding Information Complaint
[] Probation Violation Petition i] Supervised Release Violation Petition L] Violation Notice L | Order of the Court

This offense is briefly described as follows:

That on November 3, 2022 and November 19, 2022, in the Eastern District of Michigan, Walter transmitted in interstate
commerce communications containing a threat to injury the person of another, in violation of 18 U.S.C. § 875(c).

Date: November 22,2022.” =

Issuing officer's signature

City and state: Bay City,MD ess Patricia T. Morris, U.S. Magistrate Judge

Printed name and title

Return

This warrant was received on (date) |

at (city and state) KL fal i Mi / i
Wale Mh tay
Date: ss LY iy “ - ee [fl2HWaA

] aad
[Lt Lf (92°C, and the person was arrested on (date) _ {| [ Z Z/ wee _

“Arresting officer's signature
Chance _Nafolin DUSM_

Printed name and title

Distribution: Original Court — leopy U.S. Marshal — 2 copies USA

